                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF IOWA
                               CEDAR RAPIDS DIVISION

 PARENTS DEFENDING EDUCATION,
                          Plaintiff,
 v.

 LINN-MAR COMMUNITY SCHOOL                           Case No. 22-cv-78-CJW-MAR
 DISTRICT; et al.,

                          Defendants.



                                DECLARATION OF NICOLE NEILY

         1.     I am the President of Parents Defending Education (“PDE”).

         2.     I am over the age of eighteen and under no mental disability or impairment. I have

personal knowledge of the following facts and, if called as a witness, would competently testify to

them.

         3.     PDE is a nationwide, grassroots membership organization whose members are

primarily parents of school-aged children. PDE has members throughout the country.

         4.     PDE’s mission is to prevent the politicization of K-12 education, including

government attempts to usurp parents’ rights and to silence students who express opposing views.

PDE seeks to stop indoctrination in the classroom and promote the restoration of a healthy, non-

political education for kids.

         5.     PDE furthers its mission through network and coalition building; investigative

reporting; engagement on local, state, and national policies; disclosure of harmful local and national

school policies to PDE’s members and other parents; advocacy; and, if necessary, litigation.

         6.     PDE has members who are harmed by Policy 504.13-R, including Parents A-G.




                                      1
        Case 1:22-cv-00078-CJW-MAR Document 3-9 Filed 08/05/22 Page 1 of 3
       7.      I am personally familiar with and have spoken to the PDE members who are

mentioned in the complaint (Parents A-G) and whose declarations are provided with this motion. I

am also personally familiar with and have spoken to other PDE members who have children enrolled

in Linn-Mar schools who are also harmed by the Policy but are not mentioned in the complaint.

       8.      PDE brought this suit to protect the constitutional rights of PDE’s members, their

children, and other parents and students within the Linn-Mar school district.




                                    2
      Case 1:22-cv-00078-CJW-MAR Document 3-9 Filed 08/05/22 Page 2 of 3
Case 1:22-cv-00078-CJW-MAR Document 3-9 Filed 08/05/22 Page 3 of 3
